Case 4:18-cV-00204-GKF-.]F.] Document 2 Filed in USDC ND/OK on 04/12/18 Page 1 of 13

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IN THE UNITED STATES DISTRICT COURT APR l 2 mm
FOR THE NORTHERN DISTRICT GF OKLAHOMA " "
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(l) SUSAN CLARKE, ) ‘“
) _
P'“’““"’ § 1 8 CV 2 0 4 GKF ' JFJ
vs. ) Case No.
)
(l) STATE FARM MUTUAL AUTOMOBILE )
INSURANCE COMPANY, A Foreign For )
Profit Corporation, )
)
Defendant. )
NOTICE OF REMOVAL

 

The Petitioner, State Farm Mutual Automobile Insurance Company (“State Farm”),
Defendant in the above-captioned case, states the following:

l. The above-entitled cause Was commenced on March 7, 2018, in the District Court of Tulsa
County, entitled Susan Clarke v. State Farm Mutual Automobile Insurance Company, Case No. CJ-
2018-1034. A copy of Plaintiff’ s Petition setting forth her claims for relief upon Which the action is
based is attached hereto and marked Exhibit l. A copy of the Summons served upon State F arm is
attached hereto and marked Exhibit 2. State Farm Was served Summons and Petition via service on
the Oklahoma Insurance Department on l\/Iarch 27, 2018. (Summons, Exhibit 2).

2. State Farm’s principal place of business is in the State of lllinois, and State Farm is
incorporated in the State of Illinois. Plaintiff, Susan Clarke, is a resident and citizen of Tulsa County,
State of Oklahoma. (Petition, 11 l, Exhibit l). Plaintiff’s cause of action is for alleged breach of an
automobile insurance policy and alleged breach of the implied duty of good faith and fair dealing
The matter in controversy between Plaintiff and State Farm, according to Plaintiff` s demand, exceeds

Seventy-Five Thousand and No/lOOths Dollars ($75,000.00), exclusive of interests and costs.

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(Plaintiff’s Petition, p. 5).

3. This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1332 (1992),
by reason of the fact that this is a civil action wherein the amount in controversy, according to
Plaintiff’ s demands, exceeds Seventy-Five Thousand and No/ 1 00ths Dollars ($75,000.00), exclusive
of interest and costs and is between citizens of different states. Accordingly, this action may be
removed by State Farm pursuant to 28 U.S.C. § 1441(a).

4. This Notice of Removal is filed in this Court within thirty (30) days after March 27, 2018,
the date State Farm was served with a copy of Plaintiff’s Petition, which was the initial pleading
setting forth the claims for relief upon which this action is based. (Summons, Exhibit 2).

5. Copies of all process, pleadings, and Orders served upon Defendant, State Farm, have
been attached hereto as Exhibit 1 (Petition), and Exhibit 2 (Summons). Pursuant to LCvR 81 .2, a
copy of the state court docket sheet is attached as Exhibit 3.

WHEREFORE, Defendant, State Farm Mutual Automobile Insurance Company, prays that
this action be removed.

Dated this @&y of April, 2018.

Respectfully submitted,

 
   
   

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’“ " & FIAsCo

 

l ” John s. oladd, oBA #12307
J. Andrew Brown, OBA #22504
525 South Main Street, Suite 1500
Tulsa, Oklahoma 74103-4524
Telephone: (918) 582-8877
Facsimile: (918) 585-8096
Attorneys for Defendant SFMAIC

2

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CERTIFICATE OF MAILING

I hereby certify that on the Uay of April, 2018, a true and correct copy of the
aforementioned document was mailed to the following, with postage prepaid:

Donald E. Smolen, II

Laura L. Hamilton

SMOLEN, SMOLEN & ROYTMAN
701 South Cincinnati Avenue

Tulsa, OK 74119

Attorneys for Plainti]Y

 

 

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Case 4:18-cV-OO2O4-GKF-.]F.] Document 2 Filed in USDC ND/OK on 04/12/18 Page 4 of 13

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IN TI~IE DISTRICT COURT IN AND FOR TULSA COUNTY

sTATE 0F 0KLAH0MA MAR ° 7 2018
SUSAN CLARKE, ) WAW%E%RKEZRUYL§A clark
)
Plaintiff, ) ' _
, ca 1 ‘ ~ -..
v. ) 3032`0 1.`~"01034
) Honorable Judge:
STA'I'E FARM MUTUAL AUTOMOBILE )
]NSURANCE COMPANY, A Foreign For ) Hebecca aren N|ght|nga[g
Profit Corporation, )
)
Defendants. ) AT'I`ORNEY LIEN CLAIMED
PETITION

COMES NOW the Plaintiff, Susan Clarke, by and through her anomeys of record, and
for her cause of action against the Defendant, State Farm Mutual Automobile Insurance
Company (“State Farm”), alleges and states the following:

.PARTIES `J URISDICTION AND VENUE

 

l. Plaintid`, Susan Clarke, is, and was at all times relevant hereto, a resident of Tulsa County,
Oklahoma.

2. Defendant State Farm is a foreign for profit insurance corporation doing business in
Tulsa County, Oklahoma.

3. The accident and injuries that give rise to this litigation occurred in Tulsa County,
Oklahoma.

4. This Court has jurisdiction and venue is proper in Tulsa County, Oklahoma.

STATEMENT OF FACTS

 

5. Paragraphs 1-4 are incorporated herein by reference
6. On or around November 18, 2016, a motor vehicle accident involving Plaintiff and third

party tortfeasor Kristen Ward occurred when Ward negligently pulled in front of the vehicle in

EXH|B|T

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which Plaintiff was traveling. Kristen Ward had state minimum insurance coverage at the time of
the accident.

7. As a result of negligence of Kristen, PlaintiH` has suffered significant personal injuries,
medical expenses, and property damages.

8. The vehicle Plaintiff was operating at the time of this accident was covered under a
policy of uninsured/underinsured motorist (“UIM”) coverage, written by Defendant State Farm.

9. The tortfeasor responsible for Plaintiff’s injuries - Kristen Ward - was underinsured for
Plaintiff’s injuries at the time of this loss and Plaintiff submitted a demand to State Farm for all
applicable benefits due under the applicable policy of insurance.

lO. Thereafter, Plaintiff cooperated with all of State Farm’s requests for additional
information

ll. Plaintiff has relied on Defendant State Farm to properly handle her claims and make
payment pursuant to the coverage afforded under the applicable policy of insurance Plaintiii` has
made due demand on the Defendant for payment of policy benefits and otherwise met all of the
conditions precedent for payment under the policy.

12. Defendant State Farm has and continues to unreasonably fail and refuse to pay the
Plaintiff the appropriate insurance policy benefits due and owing.

13. As a result, Plaintiff has suffered the loss of benefits and attendant financial hardship and
pain and suffering

CAUSES OF ACTION
I. BREACH OF CONTRACT

14. Paragraphs 1-13 are incorporated herein by reference.

Page 2 of 5

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15. Plaintiii` had a policy of insurance with Defendant State Farm on the vehicle driven by
her at all times relevant hereto with UIM coverage included therein.

16. 'I`he accident at issue was caused by a third-party tortfeasor who was underinsured for
Plaintiff’s injuries

17. Pursuant to the terms of the applicable insurance policy, this is a factual situation wherein
both the UIM coverage contained in said policy applies.

18. Plainti&` has requested Defendant State Farm tender payment under said policy and
Defendant has failed and refused to do so, Plaintiff has performed all conditions precedent under
the policy.

19. Defendant State Farm has breached its contract of insurance and has wholly refused or
neglected to pay Plaintiff the value of her damages which is due and owed.

II. BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING *_

20. Paragraphs 1- 19 are incorporated herein by reference.

21. Plaintiff was insured under a policy of insurance written by Defendant State Farm
providing UIM coverage

22. Plaintiff requested Defendant State Farm tender any and all applicable benefits under
such policy and coverages but Defendant has failed and refused to do so.

23. In its handling of Plaintiff’s claims for benefits, and as a matter of routine practice in
handling similar claims, Defendant State Farm breached its affirmative duty to deal fairly and in
good faith towards the Plaintiff in the following respects:

a. F ailing to pay Plaintiff the benefits she was entitled under the policy of insurance

at a time when Defendant knew Plaintiff was entitled to those benefits;

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b. Withholding payment of benefits knowing that Plaintiff’s claim for benefits was
valid;

c. Unreasonably delaying payment of benefits without reasonable basis;

d. Refusing to pay Plaintiff’s claims for reasons contrary to the express provisions of
the law;

e. Intentionally and recklessly misapplng provisions of the insurance policy and
looking for ways to avoid paying some or all of Plaintiff’ s claims;

f. Failing to properly investigate Plaintiff’s claims for benefits;

g. Failing to properly evaluate Plaintift’ s claims for benefits;

h. Failing to adopt and implement reasonable standards for the prompt investigation,
evaluation and handling of claims arising under its policies, including Plaintiff’ s;

i. Unreasonably delaying Plaintiff’s claim and putting the burden of investigation
onto Plaintiff and her attorneys; and 1

j. Failing to attempt to act in good faith to effectuate a prompt and fair settlement of
Plaintiff’s claims.

24. As a direct result of Defendant State Farm’s breach of contract and breach of its
affirmative duty of good faith and fair dealing, Plaintiff has suffered the loss of insurance
benefits, mental and emotional distress, anxiety, embarrassment, medical expenses and financial
hardship.

HI. PUNITIVE DAMAGES

25. Paragraphs 1-24 are incorporated herein by reference.

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26. The intentional, wanton and reckless conduct of Defendant in disregard of Plaintiff and
others was conducted with full knowledge, in that Defendant knew, or should have known, of the
severe adverse consequences of their actions upon Plaintiff and others.

27. Such actions were not only detrimental to Plaintiff, but to the public in general.

28. Defendant acted intentionally, maliciously, and in reckless disregard of the rights of
Plaintiff. As a result, Plaintiff is entitled to recover punitive damages against the Defendant.

WHEREFORE, based on the foregoing, Plaintiff prays that the Court grant her the relief
sought, including but not limited to actual damages in excess of Seventy-Five Thousand Dollars
($75,000.00), punitive damages in excess of Seventy-Five Thousand Dollars ($75,000.00), all
applicable pre- and post-judgment interest, reasonable attorneys’ fees, costs, and all other relief
deemed appropriate by this Court.

Respectfully submitted,

SMOLEN, SMoLEN & RoYrMAN, me

Donald B. Smolen, II, OBA #19944
Laura L. Hamilton, OBA #22619
701 S. Cincinnati Ave.

Tulsa, OK 74119

(918) 585-2667 P

(918) 585-2669_ F
donaldsmolen@s_s, ` rok».com
l_fw__vrlh_il_l\:_'il_f.bl\@§srol¢com.
Attorneysjbr Plaintzj`

 

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Case 4:18-cV-OO2O4-GKF-.]F.] Document 2 Filed in USDC ND/OK on 04/12/18 Page 9 of 13

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
STATE OF OKLAHOMA
SUSAN CLARKE, )
)
Plaintiff, ) cJ -
) 2018_01034
v. ) Case No.:
) Honorable Judge:
STATE FARM MUTUAL AUTOMOBILE )
INSURANCE COMPANY, A Poreign For )
Proflt Corporation, )
)
Defendants. ) AT'I`ORNEY LIEN CLAIMED
_OB,I_QINMJ_____LU_M_I\_’I_QH§

SERVE BY U.S. CERTIFIED MAIL, RETURN RECEIPT REQUESTED

means
sTArE FARM MUTUAL AUTOMoBILE .- t . - ,.
t mt ~ .Pm.. w
INSURANCE cowan [;°KLAH°MMNSUR m ‘°`
MAR t 4 (_ mt

To the above~named Uefendant(s) Lega' n ' '
You have been sued by the above named plaintiff(s), and you are directed to file a written
answer to the attached petition and order in the court at the above address within twenty (20) days
after service of this summons upon you exclusive of the day of service. Within the same time, a
copy of your answer must be delivered or mailed to the attorney for the plaintiff. Unless you answer
the petition within the time stated judgment will be rendered against you with costs of the action.

Issued this 7 day of 3 ,2018 DON NEWBEF{RY, Court Clerk
County Court Clerk

By %./
fiaqu Court Clerk
(Seal)
This summons and order was served on

 

(Signature of person serving summons)

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER
CONNECTED WITH THIS SUIT OR YOUR ANSWER, SUCH AT'I`ORNEY SHOULD BE
CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE
TIME LIMIT STATED IN THIS SUMMONS.

Re¢um oniclNAL for nling. . Ex""B|T

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leunANcs CoMMlssloNEn
MARY FALL]N ' .lol-lN D.DOAK

 

' INSURANCF. CoMMIssloNER
State of Oklahoma

March 27, 2018

STATE FARM MWUAL AUTCMOBILE
INSURANCE CCMPANY

ONE B'H\TE FARM PLAZA
BIDOMIM'I'ON IL 61710

RB: CJ-18-1034
In the District Court in TULSA
state of Oklahoma
SUSAN CLARKE
vs
STATE FARM MUTUAL AUI‘QMOBILE
INSURANCE CCMPANY

Desr Sir or Madam¢

Enclosed is a copy of the above captioned sununons

served on the Insurance Conuniesioner as designated agent
for service of process of foreign insurance companies doing
business vin the State of Oklahoma (36 o.S. section 621(3)).

Sincerely,

   

f vgs`l Department

dp/ enclosure

CORPORATION SERVICE COMPANY

10300 GR.EENBRIAR PLACB
OKLAHOMA CITY OK 73159

FlVB MR.PORATB PIAZA, 3625 N.W._Sé° STREET, SU|'I`B 100 0 OKIAHOMA Cl’l'Y, OKLAHOMA 73112-451[

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Case 4:18-cV-OO2O4-GKF-.]F.] Document 2 Filed in USDC ND/OK on 04/12/18 Page 11 of 13

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State Courts Network

 

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and federal laWs.

lN THE DlSTRlCT COURT lN AND FOR TULSA COUNTY, OKLAHOMA

No. CJ-2018-1034

SUSAN CLARKE, (Civil relief more than $10,000: OTHER
Plaintiff, <..DESCR|PT|ON OF ACT|ON..>)

v. :

STATE FARM MUTUAL AUTOMOB|LE |NSURANCE Filed: 03/07/2018

COl\/lPANY,
Defendant.

Judge: Nightingale, Rebecca B.

PARHES

;LARKE, SUSAN, Plaintiff
STATE FARM MUTUAL AUTOMOB|LE |NSURANCE CO|\/lPANY, Defendant

AJTORNEYS
` Attorney Represented Parties
SMOLEN, DONALD E ll (Bar#19944) CLARKE, SUSAN

SMOLEN,Sl\/IOLEN & ROYTl\/|AN PLLC
701 S C|NC|NNAT| AVE
TULSA, OK 74119

EVENTS

None

lSSUES

~`or cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

lssue # 1. lSSue: OTHER <..DESCR|PT|ON OF ACT|ON..> (OTHER)
Filed By: CLARKE, SUSAN
Filed Date: 03/07/2018

 

Party Name Disposition information

Case 4§18-cV-OO2O4-GKF-.]F.] Document 2 Filed in USDC ND/OK on 04/12/18 Page 12 of 13

' ',. Party Name

Defendant:
STATE FARM MUTUAL AUTOMOB|LE |NSURANCE COMPANY

 

 

 

 

 

 

Disposition information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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REBECCA B. TO TH|S CASE.

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Date11 z .Code
33-07-2018 ACCOUNT

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RECE|PT # 2018-3725480 ON 03/07/2018.

PAYOR: SMOLEN SMOLEN TOTAL AMOUNT PA|D: $ 242.14.
L|NE |TEMS:

CJ-2018-1034: $173.00 ON ACO1 CLERK FEES.

CJ-2018-1034: $6.00 ON AC23 LAW LIBRARY FEE ClVlL AND
CR|M|NAL.

CJ-2018-1034: $1.66 ON AC31 COURT CLERK REVOLV|NG FUND,
CJ-2018-1034: $5.00 ON ACS8 OKLAHOMA COURT APPO|NTED
SPEC|AL ADVOCATES.

CJ-2018-1034: $1.55 ON A059 COUNC|L ON JUD|C|AL
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CJ-2018-1034: $7.00 ON A064 D|SPUTE MED|AT|ON FEES ClVlL
ONLY.

CJ-2018-1034: $0.45 ON A065 STATE JUD|C|AL REVOLV|NG
FUND, lNTERPRETER SVCS.

CJ-2018-1034: $2.48 ON A067 DlSTRlCT COURT REVOLV|NG
FUND. '

CJ-2018-1034: $25.00 ON AC79 OC|S REVOLV|NG FUND,
CJ-2018-1034: $10.00 ON ACB1 LENGTHY TR|AL FUND.
CJ-2018-1034: $10.00 ON AC88 SHER|FF'S SERV|CE FEE FOR
COURT HOUSE SECUR|TY.

http://www.oscn.nel/dockets/GetCaselnformation.aspx?db=tulsa&number=CJ-2018-1034 3/3

